                      APPENDIX A TO RESPONSE TO STATUS REPORT

                                             Appears to have been returned in The November 2, 2023 date is,
                                             full, but can't really tell. Folder has of course, after the date of the
  One (1) gray    RETURNED media files       110,495 files in it and is dated        seizure, indicating that the data
  iPhone on       (videos and photos), 11-9- November 2, 2023; folder does           is not forensically created and
1 dresser         2023                       not actually open properly              is not the original.
  One (1) gray
  Apple laptop,
  Model A2681,
  Serial number
  FDK2WQY91Y ITEM RETURNED and
  with charging   information deleted from
  cable on coffee government systems, 10-6-
2 table           2023                      Received in full.
  One (1) gray
  Apple laptop,   Folders and files that
  Model A1278, predate August 22, 2022,
  Serial number 9-15-2023; RETURNED         Returned in unusable format due
  C1MH3DJ9DV1 folders and files that        to omission of key operating
  3 with power    postdate February 20,     system files; files modified to date
3 cord, on desk   2022, 10-25-2023          of October 23, 2023
  One (1) gray
  Macbook Air,    Folders and files that
  Model A1466, predate August 22, 2022, Returned in unusable format due
  Serial number 9-15-2023; RETURNED         to omission or modification of key
  C02MM0SNFL folders and files that         operating system files; files
  CG with power postdate February 20,       modified to date of October 23,
4 cord on desk    2022, 10-25-2023          2023


                                                      1
  One (1) gray
  Apple laptop
  Serial number ITEM RETURNED and
  W80199B7AGZ information deleted from                                             Initially returned on disk with all
  with power cord government systems, 10-6-                                        dates modified to September
5 on table        2023                         Received in full.                   25, 2023.
                  Returned website code for
                  burke-
                  communications.com,
                  mocksession, and
                  lynnhurtak.com, 7-27-2023;
                  returned MySQL database
                  files for above websites, 9-
                  13-2023; folders and files
                  that predate February 20,
                  2022, 9-28-2023;
  One (1) black   RETURNED folders and         SQL files not dumped properly;
  rackmount PC files that postdate February files and folders modified
6 on table - NVMe 20, 2022, 11-9-2023          November 2 and 3, 2023.
                  Folders and files that
                  predate February 20, 2022, Files returned in haphazard
                  9-28-2023; RETURNED          fashion, with all file/folder dates
  One (1) black   folders and files that       modified; subsequent return files /
  rackmount PC postdate February 20,           folders modified November 2,
6 on table - HDD 2022, 11-9-2023               2023.
  One (1) black   Folders and files that       Volume difficult to parse due to
  rackmount PC predate August 22, 2022, being a MacOS volume saved in a
  on table –      9-15-2023; RETURNED          Windows format. All file/folder
7 Samsung NVMe folders and files that          date modifications set to October


                                                       2
                  postdate February 20,       23, 2023.
                  2022, 10-25-2023


                  Folders and files that
                  predate August 22, 2022,
                  8-9-2023; RETURNED         Appears to have been returned in
  One (1) black   folders and files that     full, but can't really tell. All
  rackmount PC postdate February 20,         files/folders modified October 23,
7 on table – SSD 2022, 10-25-2023            2023.
                  Folders and files that
                  predate February 20, 2022,
                  10-12-23; RETURNED         Initial return unusable due to file
  One (1) black   folders and files that     modification dates of October 6,
  rackmount PC postdate February 20,         2023. Subsequent return file dates
7 on table – RAID 2022, 11-9-2023            modified to November 3, 2023.
                                             Difficult to ascertain what has
                  Folders and files that     been returned and how completely
                  predate February 20, 2022, due to modification of file dates to
  One (1) white   9-15-2023; RETURNED        November 2, 2023. Subsequent
  computer tower folders and files that      return missing portions and
  on floor –      postdate February 20,      file/folder dates changed to
8 RALLY RAID      2022, 11-9-2023            November 3, 2023.
                  Folders and files that
                  predate February 20, 2022, Drive difficult to parse due to
  One (1) white   9-28-2023; RETURNED        being MacOS volume on Windows
  computer tower folders and files that      formatted drive; files/folders
  on floor – NVMe postdate February 20,      changed to modified date of
8 960             2022, 11-9-2023            October 30, 2023.


                                                     3
                  Folders and files that
                  predate February 20, 2022, Drive difficult to parse due to
  One (1) white   9-28-2023; RETURNED        being MacOS volume on Windows
  computer tower folders and files that      formatted drive; files/folders
  on floor – NVMe postdate February 20,      changed to modified date of
8 970             2022, 11-9-2023            November 6, 2023
                  Folders and files that     Initial return unusable due to file
                  predate February 20, 2022, modification dates of October 20
  One (1) white   10-25-2023; RETURNED and 21, 2023. Subsequent return
  computer tower folders and files that      files/folders modification date
  on floor – HDD postdate February 20,       changed to range of October 30
8 RAID (8 Drives) 2022, 11-9-2023            through November 2, 2023.
                  Folders and files that     Initial return unusable due to file
                  predate February 20, 2022, modification date of October 11,
  One (1) white   10-12-23; RETURNED         2023. Subsequent return
  computer tower folders and files that      files/folders modification date
  on floor – HDD postdate February 20,       changed to range of October 30
89                2022, 11-9-2023            through November 2, 2023.
  One (1) white
  computer tower Folders and files that
  on floor – HDD predate February 20, 2022,
8 10              9-28-2023;
  One (1) gray
  Apple laptop,
  Model A1369, ITEM RETURNED and
  Serial number information deleted from                                         Initially returned on disk with all
  C02GK596DJW government systems, 10-6-                                          dates modified to September
9 T on floor      2023                       Returned in full.                   25, 2023.



                                                      4
                                                 Boot drive backup unusable due
                      Folders and files that     to modification of files on October
                      predate February 20, 2022, 6, 2023. Subsequent return
   One (1) gray       10-12-23; RETURNED         difficult to identify what is present
   Lacie external     folders and files that     and what is missing due to file
   hard drive on      postdate February 20,      modification dates changed to
10 server rack        2022, 11-9-2023            October 31, 2023.
   One (1) gray
   Apple laptop,
   Model
   A1708,Serial
   number                                                                                Initially returned in modified
   C02V94BZHV2     ITEM RETURNED and                                                     format, with all Lynn's campaign
   2 with charging information deleted from                                              communications missing and
   cord on the leftgovernment systems, 10-6-                                             file dates modified to
12 side of desk    2023                      Returned in full.                           September 25, 2023.
                   Folders and files that
                   predate August 22, 2022,
                   8-9-2023; RETURNED        Router boot drive; appears to be
   One (1) black   folders and files that    missing most system files.
   PC tower on     postdate February 20,     Files/folders modified October 23,
14 floor           2022, 10-25-2023          2023.
                   ITEM RETURNED and
   Three (3)       information deleted from
   notebooks from government systems, 10-
15 bookshelf       12-2023                   Returned in full.
   One (1)         ITEM RETURNED and                                            I believe this is the item that
   notebook from information deleted from                                       contained the most
16 kitchen counter government systems, 10- Returned in full.                    memorializations of


                                                          5
                   12-2023                                                      conversations with confidential
                                                                                sources.

                     Folders and files that
   One (1) Crucial predate August 22, 2022                                      Boot drive for DirecTV video
   solid state drive (partial), 8-9-2023; ITEM                                  server. Heavily modified, as
   Serial number RETURNED and                                                   illustrated in previous emails,
   2136E5CF4SC information deleted from                                         with apparent installs of
   B from server     government systems, 9-28-                                  snapcraft software, ranging
17 rack              2023                      Returned, but modified.          from May through July 2023.
   One (1) Apple ITEM RETURNED and
   iPhone Model information deleted from
   Al387, white-on government systems, 10-6-
18 desk;             2023                      Returned
                     Videos and photos that    Content appears to be returned
   One (1) Apple predate February 20, 2022, but the folder is very large and
   iPhone Model 10-25- 2023; RETURNED modification dates changed to
   A1660, black-on media files (videos and     range from October 30 through
18 desk              photos), 11-9- 2023       November 2, 2023.
   one (l) Apple     ITEM RETURNED and
   iPhone, Model information deleted from
   A1660, silver-on government systems, 10-
18 desk              18-2023                   Returned
   One (1) black
   ORICO external ITEM RETURNED and
   hard drive with information deleted from
   power cord        government systems, 8-9-
19 under desk        2023                      Returned in full




                                                     6
                     Folders and files that
                     predate August 22, 2022
   One (1) black     (partial), 8-9-2023;
   ASUS PC Serial (complete) 8-17-2023;
   number            RETURNED folders and      Returned multiple times; files and
   CCPDCG0019 files that postdate February folders modified most recently
20 WM - HDD          20, 2022, 10-25-2023      October 23, 2023.
   One (1) Crucial Folders and files that
   solid state drive predate August 22, 2022,
   in black          8-9-2023; ITEM
   enclosure Serial RETURNED and
   2039E4B257CF information deleted from
   with USB cable government systems, 9-28-
21 on the desk       2023                      Returned in full
                     Folders and files that
                     predate August 22, 2022,                                       Boot drive for DirecTV video
   One (1) Crucial 8-9-2023; ITEM                                                   server. Heavily modified, as
   solid state drive RETURNED and                                                   illustrated in previous emails,
   Serial number information deleted from                                           with apparent installs of
   2151E5F56D90 government systems, 9-28-                                           snapcraft software, ranging
22 on bookshelf      2023                      Returned, but modified.              from May through July 2023.
                     Folders and files that
                     predate August 22, 2022,
                     8-9-2023; ITEM
   One (1) black     RETURNED and
   mini PC S/N       information deleted from
   2239E66E7B        government systems, 9-28-
23 from desk         2023                      Returned in full



                                                      7
   One (1) black  Folders and files that       Return unusable due to it being a
   Hitachi 500GB predate August 22, 2022       backup boot drive in Time
   hard drive S/N (partial), 8-9-2023;         Machine format on Windows
   80G3XZLC with RETURNED folders and          formatted drive and file/folder
   two cords on   files that postdate February dates modified to November 6,
24 top of 8       20, 2022, 11-9-2023          2023




                                                     8
